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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                  CRIMINAL 03-0355CCC
 1) ALEJANDRO ORTIZ-MENDEZ
 a/k/a Andrew, a/k/a Andro
 (Counts One, Two, Three, Four, Five, Eleven,
 Twelve, Thirteen)
 2) LEONEL ORTIZ-MENDEZ
 (Counts One, Two, Three, Six, Twelve,
 Thirteen)
 3) EDGARDO J. LOPEZ-RODRIGUEZ
 a/k/a Gato
 (Counts One, Two, Seven, Twelve, Thirteen)
 4) LEONEL U. DELIZ-QUIÑONES
 (Counts, One, Two, Twelve, Thirteen)
 5) HECTOR CANDELARIA-RIVERA
 (Counts One, Two, Eight, Twelve, Thirteen)
 6) PEDRO GONZALEZ-RODRIGUEZ
 (Counts One, Two, Nine, Twelve, Thirteen)
 7) LYDIA GARCIA-GONZALEZ
 (Counts One, Two, Three, Four, Twelve,
 Thirteen)
 8) JESSICA AMADOR-GARCIA
 (Counts One, Two, Four, Twelve, Thirteen)
 9) FRANCISCO ESPADA-MENDEZ
 (Counts One, Two, Ten, Twelve, Thirteen)
 10) TOMAS ORTIZ-MARGARIDA
 (Counts One, Two, Twelve, Thirteen)

 Defendants
                       PRELIMINARY ORDER OF FORFEITURE
        WHEREAS, on September 30, 2004 defendant Lydia García-González entered a Plea
and Forfeiture Agreement to Counts Three and Four of the Indictment, as well as the Forfeiture
Allegations;
        WHEREAS, thereafter, on February 8, 2005 defendant Alejandro Ortiz-Méndez entered
a Plea and Forfeiture Agreement to Counts Twelve and Fourteen, as well as the Forfeiture
Allegations;
        and WHEREAS by so doing, co-defendants Lydia García-González and Alejandro Ortiz-
Méndez agreed toforfeit to the United States and to relinquish all rights, title and interests in
the following property:
        ONE URBAN LOT LOCATED AT CALLE ONIX F-1 DE LA URBANIZACION
        PEDREGALES, LOCALIZADO EN BARRIO CIENAGA BAJA, RIO GRANDE,
        PUERTO RICO, WITH ALL THE ATTACHMENTS, FIXTURES, AND
        IMPROVEMENTS, MORE FULLY DESCRIBED AS FOLLOWS:
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       “SOLAR #1 DEL BLOQUE F (F-1) DE LA URBANIZACION PEDREGALES,
       RADICADA EN EL BARRIO CIENAGA BAJA DEL TERMINO MUNICIPAL
       DE RIO GRANDE, PUERTO RICO, CON UNA CABIDA DE 753.846
       METROS CUADRADOS, EQUIVALENTES A APROXIMADAMENTE 0.1918
       CUERDAS. COLINDANDO POR EL NORTE, EN 2 DISTANCIAS, UNA DE
       23.948 METROS Y OTRA DE 16.516 METROS, CON EL SOLAR #2 DEL
       BLOQUE F Y LA CALLE #5; POR EL SUR, EN 3 DISTANCIAS, UNA DE
       18.587 METROS, OTRA DE 14.786 METROS Y LA OTRA DE 14.274
       METROS, CON LA SUCESION CALDERON, FACILIDADES VECINALES Y
       MURO DE CONTENCION; POR EL ESTE, EN UNA DISTANCIA DE 6.004
       METROS, CON EL SOLAR #14 DEL BLOQUE F; Y POR EL OESTE, EN 2
       DISTANCIAS, UNA DE 15.748 METROS Y LA OTRA DE 8.988 METROS,
       CON LOS SOLARES #21 Y 20 DEL BLOQUE F Y CON MURO DE
       CONTENCION.

       ENCLAVA: UNA CASA PARA FINES RESIDENCIALES.
       SE AGREGA DE LA FINCA #24,128 INSCRITA AL FOLIO 141 DEL TOMO
       415 DE RIO GRANDE.
       FINCA: #25273, INSCRITA AL TOMO 457 DEL SISTEMA DE FOLIO
       MOVIL DE RIO GRANDE, INSCRIPCION 1RA Y UNICA (SECCION III DE
       CAROLINA).”

        AND WHEREAS, upon the Plea and Forfeiture Agreements entered into by the
defendants, the forfeiture of the above property stands unopposed,
        AND WHEREAS, the United States has made a sufficient showing of the forfeitability
of the property;
        AND WHEREAS, by virtue of the Plea and Forfeiture Agreements, the United States
is now entitled to possession of said property, pursuant to 21 U.S.C. §853, and Rule 32(d)
of the Federal Rules of Criminal Procedure,
        IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
        1. That based upon the guilty plea by the defendants and the unopposed version of the
facts, any and all of the defendants’ interest in the above-listed property is hereby forfeited to
the United States and the United States is hereby authorized to seize the same for disposition
in accordance with the law, subject to the provisions of Title 21 U.S.C. §853.
        2. That the aforementioned forfeited property is to be held by the United States
Marshals Service in their secure custody and control.
        3. That pursuant to Title 21 U.S.C. §853, the United States forthwith shall publish
three times for three consecutive weeks in “El Nuevo Día,” a newspaper of general circulation
in the Island of Puerto Rico, notice of this Order, notice of the United States Marshals Service’s
intent to dispose of the property in such manner as the Attorney General may direct, and notice
that any person, other than the defendants, having or claiming a legal interest in the above-listed
forfeited property must file a petition with the Court within thirty (30) days of the publication
of notice or of receipt of actual notice, whichever is earlier. This notice shall state that the
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petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged interest in the
property, shall be signed by the petitioner under penalty of perjury, and shall set forth the
nature and extent of the petitioner’s right, title or interest in the forfeited property and any
additional facts supporting the petitioner’s claim and the relief sought. The United States may
also, to the extent practicable, provide direct written notice to any person known to have
alleged an interest in the property that is subject of the Order of Forfeiture, as a substitute for
published notice as to those persons so notified.
        4. That upon adjudication of all third-party interests, this Court will enter a final Order
of Forfeiture pursuant to Title 21 U.S.C. §§853 and 881, in which all interests will be
addressed.
        SO ORDERED.
        At San Juan, Puerto Rico, on August 23, 2005.



                                                      S/CARMEN CONSUELO CEREZO
                                                      United States District Judge
